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 8
 9                             UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
10
11
       Nehemiah Kong                            Case No.
12
                 Plaintiff,
13                                              Complaint For Damages And
         v.                                     Injunctive Relief For Violations
14                                              Of: Americans With Disabilities
       Yeager Family Limited                    Act; Unruh Civil Rights Act
15     Partnership, a California Limited
       Partnership
16
                 Defendants.
17
18
           Plaintiff Nehemiah Kong complains of Yeager Family Limited
19
     Partnership, a California Limited Partnership, and alleges as follows:
20
21
       PARTIES:
22
       1. Plaintiff is a California resident with physical disabilities. He is a
23
     paraplegic who suffers from post-polio syndrome. He uses a wheelchair for
24
     mobility. He has a specially equipped van with a ramp that deploys out of the
25
     passenger side of his van.
26
       2. Defendant Yeager Family Limited Partnership owned the real property
27
     located at or about 500 N Azusa Ave, West Covina, California, upon which the
28
     businesses “Mr. Pollo and Metro by T-Mobile” operate, in September 2020.

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 1     3. Defendant Yeager Family Limited Partnership owned the real property
 2   located at or about 500 N Azusa Ave, West Covina, California, upon which the
 3   businesses “Mr. Pollo and Metro by T-Mobile” operate, currently.
 4     4. Plaintiff does not know the true names of Defendants, their business
 5   capacities, their ownership connection to the property and business, or their
 6   relative responsibilities in causing the access violations herein complained of,
 7   and alleges a joint venture and common enterprise by all such Defendants.
 8   Plaintiff is informed and believes that each of the Defendants herein is
 9   responsible in some capacity for the events herein alleged, or is a necessary
10   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
11   the true names, capacities, connections, and responsibilities of the Defendants
12   are ascertained.
13
14     JURISDICTION & VENUE:
15     5. The Court has subject matter jurisdiction over the action pursuant to 28
16   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
17   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
18     6. Pursuant to supplemental jurisdiction, an attendant and related cause
19   of action, arising from the same nucleus of operative facts and arising out of
20   the same transactions, is also brought under California’s Unruh Civil Rights
21   Act, which act expressly incorporates the Americans with Disabilities Act.
22     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
23   founded on the fact that the real property which is the subject of this action is
24   located in this district and that Plaintiff's cause of action arose in this district.
25
26     FACTUAL ALLEGATIONS:
27     8. Plaintiff went to Mr. Pollo and Metro by T-Mobile in September 2020
28   with the intention to avail himself of their goods or services and to assess the


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 1   business for compliance with the disability access laws.
 2     9. Mr. Pollo and Metro by T-Mobile are facilities open to the public, places
 3   of public accommodation, and business establishments.
 4     10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 5   to provide wheelchair accessible parking in conformance with the ADA
 6   Standards as it relates to wheelchair users like the plaintiff.
 7     11. Mr. Pollo and Metro by T-Mobile provide parking to its customers but
 8   fail to provide wheelchair accessible parking space.
 9     12. A few problems that plaintiff encountered is that there were slopes in
10   the parking spaces reserved for persons with disabilities that exceeded 2.1%
11   and there were no van-accessible parking spaces. Moreover, there was no
12   accessible parking whatsoever in the rear parking lot.
13     13. Plaintiff believes that there are other features of the parking that likely
14   fail to comply with the ADA Standards and seeks to have fully compliant
15   parking available for wheelchair users.
16     14. On information and belief, the defendants currently fail to provide
17   wheelchair accessible parking.
18     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
19   personally encountered these barriers.
20     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
21   wheelchair accessible facilities. By failing to provide accessible facilities, the
22   defendants denied the plaintiff full and equal access.
23     17. The failure to provide accessible facilities created difficulty and
24   discomfort for the Plaintiff.
25     18. The defendants have failed to maintain in working and useable
26   conditions those features required to provide ready access to persons with
27   disabilities.
28     19. The barriers identified above are easily removed without much


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 1   difficulty or expense. They are the types of barriers identified by the
 2   Department of Justice as presumably readily achievable to remove and, in fact,
 3   these barriers are readily achievable to remove. Moreover, there are numerous
 4   alternative accommodations that could be made to provide a greater level of
 5   access if complete removal were not achievable.
 6     20. Plaintiff will return to Mr. Pollo and Metro by T-Mobile to avail himself
 7   of their goods or services and to determine compliance with the disability
 8   access laws once it is represented to him that Mr. Pollo and Metro by T-Mobile
 9   and their facilities are accessible. Plaintiff is currently deterred from doing so
10   because of his knowledge of the existing barriers and his uncertainty about the
11   existence of yet other barriers on the site. If the barriers are not removed, the
12   plaintiff will face unlawful and discriminatory barriers again.
13     21. Given the obvious and blatant nature of the barriers and violations
14   alleged herein, the plaintiff alleges, on information and belief, that there are
15   other violations and barriers on the site that relate to his disability. Plaintiff will
16   amend the complaint, to provide proper notice regarding the scope of this
17   lawsuit, once he conducts a site inspection. However, please be on notice that
18   the plaintiff seeks to have all barriers related to his disability remedied. See
19   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
20   encounters one barrier at a site, he can sue to have all barriers that relate to his
21   disability removed regardless of whether he personally encountered them).
22
23   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
24   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
25   Defendants.) (42 U.S.C. section 12101, et seq.)
26     22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
27   again herein, the allegations contained in all prior paragraphs of this
28   complaint.


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 1     23. Under the ADA, it is an act of discrimination to fail to ensure that the
 2   privileges, advantages, accommodations, facilities, goods and services of any
 3   place of public accommodation is offered on a full and equal basis by anyone
 4   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 5   § 12182(a). Discrimination is defined, inter alia, as follows:
 6            a. A failure to make reasonable modifications in policies, practices,
 7               or procedures, when such modifications are necessary to afford
 8               goods,     services,   facilities,   privileges,     advantages,   or
 9               accommodations to individuals with disabilities, unless the
10               accommodation would work a fundamental alteration of those
11               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
12            b. A failure to remove architectural barriers where such removal is
13               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
14               defined by reference to the ADA Standards.
15            c. A failure to make alterations in such a manner that, to the
16               maximum extent feasible, the altered portions of the facility are
17               readily accessible to and usable by individuals with disabilities,
18               including individuals who use wheelchairs or to ensure that, to the
19               maximum extent feasible, the path of travel to the altered area and
20               the bathrooms, telephones, and drinking fountains serving the
21               altered area, are readily accessible to and usable by individuals
22               with disabilities. 42 U.S.C. § 12183(a)(2).
23     24. When a business provides parking for its customers, it must provide
24   accessible parking.
25     25. Here, accessible parking has not been provided in conformance with
26   the ADA Standards.
27     26. The Safe Harbor provisions of the 2010 Standards are not applicable
28   here because the conditions challenged in this lawsuit do not comply with the


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 1   1991 Standards.
 2      27. A public accommodation must maintain in operable working condition
 3   those features of its facilities and equipment that are required to be readily
 4   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5      28. Here, the failure to ensure that the accessible facilities were available
 6   and ready to be used by the plaintiff is a violation of the law.
 7
 8   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 9   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
10   Code § 51-53.)
11      29. Plaintiff repleads and incorporates by reference, as if fully set forth
12   again herein, the allegations contained in all prior paragraphs of this
13   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
14   that persons with disabilities are entitled to full and equal accommodations,
15   advantages, facilities, privileges, or services in all business establishment of
16   every kind whatsoever within the jurisdiction of the State of California. Cal.
17   Civ. Code §51(b).
18      30. The Unruh Act provides that a violation of the ADA is a violation of the
19   Unruh Act. Cal. Civ. Code, § 51(f).
20      31. Defendants’ acts and omissions, as herein alleged, have violated the
21   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
22   rights to full and equal use of the accommodations, advantages, facilities,
23   privileges, or services offered.
24      32. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
25   discomfort or embarrassment for the plaintiff, the defendants are also each
26   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
27   (c).)
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 1          PRAYER:
 2          Wherefore, Plaintiff prays that this Court award damages and provide
 3   relief as follows:
 4       1. For injunctive relief, compelling Defendants to comply with the
 5   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 6   plaintiff is not invoking section 55 of the California Civil Code and is not
 7   seeking injunctive relief under the Disabled Persons Act at all.
 8       2. Damages under the Unruh Civil Rights Act, which provides for actual
 9   damages and a statutory minimum of $4,000 for each offense.
10       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
11   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
12
     Dated: December 16, 2020         CENTER FOR DISABILITY ACCESS
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14
                                      By:
15
16                                    _______________________
17                                           Russell Handy, Esq.
                                             Attorney for plaintiff
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